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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

                                                     )
UNITED STATES OF AMERICA,
                                                     )
    Plaintiff,                                               Case No. 4:16-cv-180
                                                     )
               v.                                    )
                                                     )       Hon. Catherine D. Perry
THE CITY OF FERGUSON,                                )
    Defendant.                                       )
                                                     )
                                                     )

               INDEPENDENT MONITOR’S WINTER 2021 STATUS REPORT

I.      INTRODUCTION

        Pursuant to Paragraph 438 of the Consent Decree entered into between the United States

Department of Justice (“DOJ”) and the City of Ferguson, Missouri (the “City”) (together, the

“Parties”), the Independent Monitor (the “Monitor” or the “Monitoring Team”) submits this

Winter 2021 Semiannual Report detailing the City’s progress during the reporting period, which

includes the second half of Year Four and the first half of Year Five, 1 through January 31, 2021.2

        In the City of Ferguson, and throughout the country, the year has largely been defined by

the COVID-19 pandemic, the ongoing fight for racial justice, and political and economic

uncertainty. Undoubtedly, these dynamics have affected the City’s progress with respect to

implementation, slowing progress with respect to community engagement and training provisions

in particular. The Monitoring Team has been similarly impacted by these and other unforeseen


1
 Throughout this report, each year of implementation is referred to as “Year One,” “Year Two,” “Year Three,” “Year
Four,” and “Year Five.” The monitorship officially began on July 22, 2016, when the former Monitor was appointed
by the Court. Accordingly, the implementation years are identified as follows: Year One: August 2016 - July 2017;
Year Two: August 2017 - July 2018; Year Three: August 2018 - July 2019; Year Four: August 2019 - July 2020; and
Year Five: August 2020 - July 2021.
2
 In accordance with Paragraph 439 of the Consent Decree, the substance of this report has been agreed to by the
Parties.
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events and, as such, did not file a second semiannual report in 2020. The Monitor nevertheless

commends the City for its continued dedication to the Consent Decree during this time,

particularly given the strain COVID-19 has placed on its personnel and resources. The Monitor

appreciates that City officials and officers have not only served on the front lines during the

pandemic, but have continued to show commitment to the provisions of the Consent Decree in

the face of these challenges.

       Notably, despite unprecedented circumstances, the Ferguson Police Department (“FPD”)

and Ferguson Municipal Court continued to make steady progress with respect to implementation

of the Consent Decree. The City has developed work-around procedures for remote community

meetings, crafted new policies and trainings, and endeavored to maintain strong working

relationships with the DOJ and the Monitoring Team. In November 2020, the City hosted a

“virtual site visit” with the Monitoring Team and DOJ in which all parties conferenced in a virtual

Zoom room to discuss implementation of various aspects of the Consent Decree and to collaborate

in identifying barriers to implementation and solving those challenges together. This productive

“site visit” will be repeated February 24-26, 2021 and will focus on the areas of accountability,

community engagement, training, policies pertaining to FPD’s solicitation of assistance from

neighboring police departments, and court reform, among others.

       The summer of 2020 marked the one-year anniversary of the hiring of Chief Jason

Armstrong and Consent Decree Coordinator Nicolle Barton, both of whom have been

instrumental in driving progress with respect to policy development, data analytics, and training.

As referenced in the Monitor’s prior report, Ms. Barton has spearheaded a more strategic approach

toward implementation that emphasizes internal processes and frequent check-ins with DOJ and

the Monitoring Team as well as a commitment to tracking and meeting the compliance metrics

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established by the Monitor’s workplans. In general—with the exception of specific community-

facing programs discussed infra—the City developed draft policies and plans and submitted them

to the relevant party for approval in compliance with the deadlines enumerated in the Year Four

Workplan. See Dkt. No. 128-1. The focus of Year Five, broadly speaking, will be for the City to

(1) revise and finalize the outstanding Training and Community Policing and Engagement Plans;

(2) continue to move policies into the implementation phase by addressing backlogs in training;

and (3) launch and promote the City’s community policing and engagement programs. These

focus areas are no surprise to the City; in its prior report, the Monitor directed the City to focus

its Year Four efforts on the development of a comprehensive training program and

implementation of community engagement and policing practices consistent with the overall aims

of the Consent Decree. As outlined in further detail below, the City made progress with respect

to drafting policies, plans, and schedules in these areas, but still has not moved through the critical

implementation phase that operationalizes these efforts; this must be a focus of Year Five.

       Recently, the City’s progress in these areas has been undermined by a lack of resources.

COVID-19, combined with other factors such as burnout, has consolidated public safety resources

and resulted in staffing shortages. As a result, FPD currently employs only 34 sworn staff, despite

having capacity and need for 45. Chief Armstrong has made every effort to address these staffing

shortages, and he and his staff are to be commended for doing what they can to move progress

forward with respect to the Consent Decree despite these challenges. The Monitoring Team urges

the City to ensure FPD has its support in hiring additional staff, particularly supervisors and patrol

officers. Adequate staffing is critical not only to obtaining the aims of the Consent Decree, but

also to improving officer well-being, workload, and overall ability to effectively engage with and

serve the community. The Monitor acknowledges the strain on resources—both financial and

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personnel—that COVID-19 has caused, but must emphasize that recruitment and staffing are

fundamental objectives of the Consent Decree on which many other elements depend. Paragraph

281 emphasizes that “[t]ransforming FPD into a law enforcement agency that has the confidence

of the entire Ferguson community and that consistently polices effectively and constitutionally

requires that the City retain a diverse workforce of highly qualified officers. . . . Given recent

events, many potential law enforcement officers may not recognize the opportunity that working

on the Ferguson police force provides. The City and FPD therefore must make greater effort than

would many municipalities and police departments to attract and retain this high-quality, diverse

workforce.” Over the last six months, FPD has been trying to do more with less, and the Monitor

praises the efforts of Chief Armstrong, Assistant Chief McCall, and Ms. Barton in continuing to

drive forward the goals of the Consent Decree despite lack of resources to help implement on the

ground. However, as the Consent Decree indicates, success in this area requires partnership

between the City and FPD. This is needed now more than ever to ensure that FPD can move the

areas discussed herein into the implementation phase during Year Five.

       Training is one area in particular in which additional resources and support is needed to

move written policies into implemented action. The Monitor was pleased that FPD recruited two

local university professors—Professors Lee Slocum, Ph.D., University of Missouri - St. Louis and

Joseph Schafer, Ph.D., St. Louis University—to join its training committee. These professors will

provide invaluable support and expertise to the City during the revision and development of its

comprehensive training plan. In addition, the Monitor continues to believe that a Training

Director will be necessary for the City to come into full compliance with the training requirements

of the Consent Decree. The development and execution of a robust training program, led by an

individual with technical skills in this area, continues to be a roadblock to implementation. The

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Monitor urges the City to prioritize the hiring of an FPD Training Director in order to accelerate

the pace of training, and thus, the City’s overall implementation timeline. 3 These additional

training resources continue to be necessary for the City to quicken its pace toward achieving

substantial compliance.

           A.   The Monitoring Process

           As with prior status reports, this report details the City’s compliance with the Year Four

and Year Five Workplans as well as progress with respect to: (1) policy revision and review; (2)

training and implementation; and (3) auditing and compliance assessment.

                  1.       Policy Revision and Review

           The Monitor is pleased to report that many of the policies discussed herein have completed

the policy revision and review phase. Since March 2020, to account for delays and challenges

associated with COVID-19 and to ensure sufficient time for public comment, the 30-day comment

period was extended for certain policies. The Parties otherwise continue to work collaboratively

to execute the policy revision and review protocol as follows: 4

      i.   Kick-off/Announcement of Policy Area: FPD notifies DOJ and the Monitor of its intent
           to begin drafting or revising policies in an identified subject area;

    ii.    Technical Assistance: The appropriate Subject Matter Expert on the Monitoring Team
           provides FPD and DOJ with technical assistance in the form of model policies and/or initial
           guidance as to best practices in the identified subject area;

    iii.   Gap Analysis: FPD and DOJ conduct an assessment or gap analysis of FPD’s current state
           of affairs (i.e., ascertain how FPD’s existing policies, practices, and systems differ from
           the Consent Decree’s requirements and best practices);



3
  The City has indicated that it is in the process of hiring a Professional Standards Inspector (at the rank of Captain).
Once hired, the Monitor encourages FPD to utilize that individual to assist with areas of the Consent Decree crucial
to implementation, such as training, where feasible.
4
 The steps outlined in the process are not necessarily intended to be implemented sequentially. Rather, the Parties
and the Monitoring Team determine the appropriate methodology on a case-by-case basis.
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 iv.   Solicitation of Community Input: Several provisions of the Consent Decree require
       community involvement in the implementation of specific policies, including those
       designed to improve police/community relations. The Parties are committed to soliciting
       community feedback on other policies as well, even where not explicitly required by the
       Consent Decree. While the Parties continually evaluate the best means of involving
       community stakeholders in the policy development process, the Parties have found that
       policy forums are an effective means of inviting and obtaining community input.

 v.    Policy Revision: FPD and DOJ revise policies, practices, and systems in the target subject
       area to the extent required under the gap analysis;

 vi.   Return to Monitor/SME: Upon completion of a draft policy, the Parties submit the policy
       to the Monitor and/or appropriate Subject Matter Expert for review. The Subject Matter
       Expert will review the policy and either provide approval or arrange for a conference call
       to discuss additional revisions; and

vii.   30-Day Comment Period: Once the Monitoring Team has approved a draft policy, the City
       will email the policy to FPD officers from varying ranks and units. Officers will have a
       meaningful opportunity to review and comment on the new or revised policy or procedure
       during a 30-day period. At the same time, FPD will post the policy to the FPD website for
       review by the community. Community members will also have 30 days to provide
       comment on the draft policy or procedure. At the close of the 30-day period, the Parties
       will determine whether any modifications to the draft policy are appropriate. If
       modifications are made, the revised policy shall be submitted to the Monitor for review and
       final approval. After the Monitor has approved the final policy, officers will be provided
       roll call training and the finalized policy will be implemented and published.

               2.      Training and Implementation

       Training is required in order to move policies out of development and into implementation.

Under the Consent Decree, training takes on two forms: first, roll call trainings are delivered via

lecture, PowerPoint, and/or short assessment; and second, in-service training is provided to FPD

personnel for applicable policies. Under the Year Four Workplan, the City was directed to ensure

that all finalized policies are maintained in a manner easily accessible to the public and to officers

and employees. Consent Decree (“CD”) ¶ 46; Dkt. No. 128-1 at 4. The City met this provision

by creating an Interactive Dashboard that contains General Orders as well as their accompanying

status (e.g., finalized, awaiting training, Monitoring Team review, etc.) and maintaining a


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hardcopy of all finalized policies at FPD. The City must be sure to keep these electronic and hard-

copy repositories up to date as it finalizes additional policies.

       The City was also tasked with creating a training schedule and training plan by the end of

Year Four. CD ¶¶ 49-51; Dkt. No. 128-1 at 4. Although the City submitted a revised draft of the

training plan by the required deadline, the City must work over the course of Year Five to

implement into the plan the additional comments and recommended changes provided by the DOJ

and the Monitoring Team to that plan. The Monitor hopes that the addition of local professors to

the training committee, as well as a Training Director, will accelerate this process as there remains

substantial work to complete with respect to this provision.

       Although the City did implement roll call trainings on an ad hoc basis, it suffered from

delays in the scheduling and execution of these trainings, which were only exacerbated by

COVID-19 restrictions limiting the number of individuals allowed in one room for group

trainings. The Monitor advises the City to prepare on remote and/or socially distanced trainings

for the remainder of Year Five. To the extent needed, the Monitoring Team remains readily

available to provide technical assistance to resolve roll call training backlogs.

       With respect to supervisors, the City developed an initial curriculum for its Supervisor

Training Program during Year Four. The DOJ and the MT reviewed this draft program and have

identified specific areas of modification and further development. The City will address those

areas, incorporate feedback, and commence its Supervisor Training Program during Year Five.

       Finally, as stated above (see infra, pp. 4-5) and in prior reports, the Monitor recommends

that the City hire a Training Director to assist in this critical aspect of implementation. A Training

Director will provide the required expertise and will streamline this process, expediting the City’s

path toward substantial compliance. Continued reliance on the Consent Decree Coordinator and

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sworn officers to develop highly technical plans, presentations, and curricula assessments—on

top of their daily duties and when they are already short-staffed—all but ensures continued delays

in the development and roll-out of FPD’s comprehensive training program.

               3.      Auditing and Assessing Compliance

       Once the City moves through roll call training and into in-service training, implemented

policies will be ripe for auditing. As previous reports have indicated, with the exception of some

of the Ferguson Municipal Court (“FMC”) policies and the use of force suite of policies, the

majority of policies have not been fully implemented by the City. Although the Monitoring

Team’s regularly scheduled biannual audits of the Municipal Court were disrupted as a result of

COVID-19 travel restrictions, FMC personnel shared some information remotely, which enabled

the Monitoring Team to provide the court audit contained herein. The Monitoring Team hopes to

restart in-person court audits in the coming months. In December 2020, the Monitoring Team

commenced its audit of FPD’s compliance with the use of force provisions of the Consent Decree.

The remaining subject areas did not enter the implementation stage during the reporting period.

II.    DETAILED STATUS UPDATE

       This report details the status of the City’s compliance with the Year Four Workplan.

Concomitant with this report, the Monitor publishes the Year Five Workplan, attached hereto as

Appendix A, which expands upon objectives achieved during Year Four and outlines additional

goals and stated metrics for the City to achieve by the end of Year Five. The workplan is the

product of consultation with the City and the DOJ, and reflects deadlines that the Monitor believes

are realistic and achievable, taking into account the ongoing public health and economic crises.

The report outlines the status of implementation with respect to: community policing and

engagement; bias-free police and court practices; stops, searches, citations, and arrests; municipal

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court reform; use of force; recruitment; accountability; body-worn and in-car camera policies;

First Amendment protected activities; data collection and analysis; and officer wellness. 5

        A.       Community Policing and Engagement

        The City, and particularly Ms. Barton, dedicated significant effort to drafting and

submitting numerous draft policies and plans to the Monitoring Team in order to meet the

deadlines set forth in the Year Four Workplan. These efforts included completing first drafts of

the Community Policing and Engagement Plan, the policy for responding to Neighborhood Police

Steering Committee (“NPSC”) recommendations, FPD’s crime prevention plan, and the small

group dialogue and neighborhood mediation plans. See Dkt. No. 128-1 at 1-3. In Year Five, the

City should continue this commitment toward developing a robust community policing and

engagement program and focus on revising these plans and policies in order to incorporate

feedback and comment provided by the DOJ and the Monitoring Team so that these plans may be

finalized and implemented by the close of Year Five.

        The Monitor continues to believe the City would benefit immensely from hiring a

dedicated community outreach coordinator to orchestrate these efforts. Although the Monitor has

prioritized the immediate need for recruitment and training resources as explained above, a

community engagement and/or outreach coordinator is critical to implementing the City’s

Community Policing and Engagement Plan and to achieving a sustainable, community-oriented

approach to policing that fosters trust and transparency within Ferguson, and has recommended




5
 The Ferguson-Florissant School District has engaged another department for its School Resource Officer (“SRO”)
Program. Because FPD officers will not be participating in an SRO Program this year, or anytime in the foreseeable
future, the Parties agreed to suspend further implementation of the SRO provisions of the Consent Decree until a
change in circumstances warrants an end to the suspension.


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hiring such an individual in its prior reports. See Dkt. Nos. 100 at 7-8, 128 at 4-5. This is all the

more important in light of the COVID-19 pandemic, which has delayed progress with respect to

this area and which is likely to have lasting ramifications on community interactions and

engagement for years to come. An individual dedicated to thoughtfully approaching the City’s

community-facing programs will be best positioned to ensure that those programs are

implemented timely, approached holistically, and modified to meet the changing needs of the

community based on public health, political, economic, or other changing circumstances.

       In particular, the Monitor cautions the City against relying too heavily on the Consent

Decree Coordinator to build out compliance with this aspect of the Consent Decree; the goal is

for FPD officials to develop a robust community policing and engagement program that will

endure long after the Consent Decree concludes. The community policing and engagement

provisions should be integrated holistically into the department with responsibilities shared among

officers, supervisors, and other FPD staff. The City will benefit, in both the short and long-term,

from a dedicated community outreach coordinator who can assist Ms. Barton and expedite

compliance in this area while also formulating meaningful and enduring relationships with the

community and within the department that are necessary to achieve the underlying aims of the

Consent Decree. The Monitor was pleased to hear the City Attorney’s report that Ferguson’s City

Council has inquired about hiring someone for this position. The Monitor encourages renewed

energy toward hiring for this position so that the community may benefit from an individual whose

sole focus is, among other things: planning, developing, coordinating, and implementing the

Community Policing and Engagement Plan; enhancing FPD’s relationships with local community

members, neighborhood associations, youth, advocacy groups, and other key stakeholders; and



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collecting and analyzing data to recommend strategies to enhance the department’s approach to

community policing and engagement with the community.

           Through the efforts of Ms. Barton, the City has worked diligently to ensure ongoing

collaboration with the NPSC and the Civilian Review Board (“CRB”) during the ongoing period

of remote-work and virtual meetings. Both groups’ subcommittees reviewed and collaborated on

the development of the Community Policing and Engagement Plan. CD, ¶¶ 20, 26-28. The NPSC

subcommittee in particular met bi-weekly from February through July 2020 as they worked to

review and revise the draft plan that was submitted to the Monitoring Team. During Year Five,

the City should incorporate the feedback provided by the DOJ and Monitoring Team as well as

additional feedback provided by the NPSC, CRB, and by the public during small group dialogue

sessions in order to finalize this policy.

           The City and FPD also developed a policy for pursuing, receiving, and seeking to act upon

suggestions and recommendations made by the NPSC during Year Four. CD, ¶ 23. The City

submitted the draft NPSC policy to the DOJ and Monitoring Team, which each provided comment

and feedback for incorporation by the City. The NPSC is currently reviewing the policy and will

make additional comments and suggestions prior to the finalization of this policy. The Monitor

understands that the NPSC has had difficulty meeting during the pandemic, 6 but that Ms. Barton

has offered to provide technical assistance to ensure remote meetings continue to be held on a

recurring basis. To the extent additional assistance is requested, the NPSC should reach out to

Ms. Barton as needed.

           Paragraph 25 of the Consent Decree requires the City to assist with the establishment of a

Neighborhood Association in each of Ferguson’s apartment complexes, including but not limited


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    The NPSC subcommittee, however, has continued to meet regularly and as needed.
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to Canfield Green, Parkridge, and Northwinds.            The City has established neighborhood

associations in each of the apartment complexes within the City, but should use the remainder of

Year Five to develop more robust relationships with those associations by tracking meetings and

FPD’s responses to local concerns.

       Per the Year Four Workplan, the City was expected to submit a crime prevention plan and

staffing plan that enables close and effective supervisions and shift sequences to better support a

community-oriented approach to policing. CD, ¶¶ 27-30. The Monitor commends the City for

launching the crime dashboards on FPD’s website and incorporating data provided by AH

Datalytics into the staffing study, but notes that these plans are in need of further revision and

refinement (as well as public comment) prior to finalization. In particular, the staffing study will

require an accompanying plan detailing the revised schedule of monthly command staff meetings

and shift sequences designed to best support community-oriented policing.

       Finally, the City is working directly with the Collaborative Reform Initiative – Technical

Assistance Center (“CRI-TAC”) to develop enhanced community engagement practices within

FPD. CRI-TAC provides technical assistance resources to law enforcement agencies on a range

of public safety, crime reduction, and community policing topics. The City is working to arrange

an on-site visit with CRI-TAC. The Monitoring Team commends the City’s work with CRI-TAC

and hopes that it will lead to robust community policing and engagement practices and, if feasible,

additional assistance with respect to training in this area.

               1.      Community Dialogues & Mediations

       The City made significant progress working with Community Mediation Services of St.

Louis (“CMS”) during Year Four. Specifically, the City finalized the Neighborhood Mediation

Plan and commenced community-centered mediations and a pilot group structured dialogue as

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required by the workplan.7 CD, ¶¶ 19, 33-34; Dkt. No. 128-1 at 1-2. The City’s virtual pilot of

its small group dialogue program was successful and proved that the dialogues required by the

Consent Decree could practically and effectively be conducted in a virtual setting. The pilot

dialogue included participation from various stakeholders in the community, including apartment

building managers and owners, residents, police officers, and members of the NPSC.

         The City surveyed participants in the pilot dialogue session and inquired about their

experiences, including whether they thought the conversation was well-managed and whether

they felt comfortable during the conversation. The City will analyze these survey results—

together with feedback and observations offered by CMS personnel—and modify the plan as

needed before formally launching the program on Zoom during Year Five. Upon launch, the City

should focus on extending this program to community members and groups who previously have

not had strong or positive relationships with FPD or the City. Given that the participants of the

initial pilot were individuals that already had a baseline level of engagement with the City,

outreach to disengaged and/or marginalized community members when rolling out this program

is all the more critical.

         During Year Five, the City should focus on building out community outreach plans for the

neighborhood mediations and small group dialogues. The City should also use the small group

dialogues as opportunities to solicit additional feedback from the community on the Community

Policing and Engagement Plan. The Monitoring Team anticipates that these community programs

will be fully implemented during Year Five and thus, ripe for auditing in Year Six.




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  Although originally scheduled for April 2020, the pilot dialogue program did not launch until September 15, 2020.
The Monitoring Team takes no issue with the delay in the launch of this program given the logistics that were required
to convert it to a remote format as a result of the COVID-19 pandemic.
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                 2.       Surveys

        In partnership with the National Police Foundation (“NPF”), the Monitoring Team has

launched       its     second       annual      community          survey,      available       online      at:

www.tinyurl.com/FergusonMOsurvey. Any individual seeking a hardcopy of the survey may

call 857-413-2866 to request one; upon request, the Monitoring Team will mail a hardcopy

survey along with a prepaid envelope to the requestee. To maintain consistency and ensure that

results can be measured against the 2019-2020 baseline responses, the Monitoring Team has

launched the same survey developed and administered by the NPF. To drive participation in the

2021 survey, the Monitoring Team will advertise the survey online—via email, on social media,

and through the radio—as well as through thousands of postcards that will be mailed directly to

Ferguson residents. The postcards provide basic information about the survey, invite individuals

to take the survey online by following the URL provided or by scanning the QR code, and offer

a phone number to call for individuals who would like to request a hard copy. The postcards will

be mailed to approximately 4,000 residents with oversampling of residents from Ward 3—the

neighborhood from which the fewest responses were received last year.                        A sampling of

individuals who have had recent interactions with FMC will also be mailed the survey, even if

those individuals reside outside of Ferguson.8

        In addition, Dr. Leigh Anderson, one of the Monitoring Team’s Community Engagement

subject matter experts, has designed an outreach plan that includes field distribution of postcards

as well as community education opportunities related to the survey. Her efforts will include

visiting local businesses, working in conjunction with apartment complexes, neighborhood


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 The survey analysis will allow the Monitoring Team to review survey results from residents (broken down by ward)
as well as non-residents.
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associations, and faith leaders, and collaborating with the Ferguson Library and Recreation

Center to ensure information about the survey is visible and accessible to the public. The

Monitoring Team anticipates running the survey from January through April 2021 and reporting

survey results to the community in the next status report. If individuals or community members

are interested in assisting the Monitoring Team in its efforts to engage the community and

increase survey participation, please reach out to the Monitoring Team directly via email at

FergusonMonitor@hoganlovells.com.

       B.      Bias-Free Police & Court Practices

       Implementation in the area of fair and impartial policing and court practices was delayed

when the Teen Summit, originally scheduled for Saturday, March 21, 2020, was cancelled as a

result of the COVID-19 pandemic. Although the City did not meet the stated deadlines outlined

in the Year Four Workplan, the Monitoring Team notes that this delay was not caused by the

City’s own negligence. In fact, the City impressively pivoted and modified its plans in order to

ensure that youth input was adequately included in the draft policies. Specifically, as a substitute

for the Teen Summit, which would have included a session dedicated to the discussion of FPD’s

draft bias-free policing policy, the City launched a questionnaire on the topic of bias-free policing

that was distributed to high school students in the Ferguson Florissant School District. The survey

garnered 128 responses from local high school students. The City incorporated the feedback

received from Ferguson youth into the draft policies and recirculated the policy for approval by

the Monitoring Team. Professor Kimberly Norwood, the Monitoring Team’s subject matter

expert in this area, reviewed the policy and returned her comments and revisions to the City for

incorporation and finalization. Next, the City is expected to conduct roll call training on this

policy by the close of Year Five.

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       To further promote bias free policing and court practices, the Consent Decree requires that

all FPD police and court employees provide timely and meaningful access to police and court

services to all, including individuals who have a limited ability to speak, read, write or understand

English (“LEP individuals”). CD, ¶ 67. By the close of Year Four, the City submitted initial draft

LEP policies to the Monitoring Team and the DOJ. These policies require additional development

in order to align with best practices in this area. Accordingly, the City should use the remainder

of Year Five to incorporate feedback received from the DOJ and the Monitoring Team, solicit

additional community comment, and train/brief appropriate personnel on these policies.

       In early February 2021, trainers from the Suffolk County Police Department (New York)

delivered a training at FPD on Tactical Policing with Impartial Perceptions. The training was

very well received by FPD staff—it was substantively robust, emphasized best practices in this

area, and offered an opportunity for team-building and enhanced camaraderie within the

department. Additionally, representatives from community groups were invited to attend part of

the training, and were given an opportunity to provide feedback on the training to FPD. This is

an important next step in enabling FPD to hone its expertise and practices in this area and progress

FPD command staff and officers into certified instructor positions so that FPD may more readily

train in the area of Bias Free Policing in the future.

       C.      Municipal Court Reform

       As required by Paragraph 323 of the Consent Decree, the Monitoring Team has

collaborated with DOJ and the City to support the City’s efforts to reform the Municipal Code,

which must protect public safety and enable fair and impartial resolution of municipal charges.

The Consent Decree delineates measures that are designed to (1) ensure enforcement of the

Municipal Code is driven by public safety; (2) implement the Comprehensive Amnesty Program;

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(3) reform the practices of the Municipal Court; and (4) ensure ongoing assessment and

improvement of the Municipal Court.

          1.     Policy Development

          Pursuant to Paragraph 328 of the Consent Decree, the City has worked cooperatively with

both the DOJ and the Monitoring Team to develop and implement most of the ordinances and

policies necessary to ensure the fair administration of justice, the constitutionality of FMC

procedures, and the legality of its processes. During the reporting period, the Parties continued

development of policies intended to formalize Consent Decree provisions that, in some instances,

had been carried out in practice by municipal court personnel but had yet to be committed to

policy.

          For instance, the Court Procedures and Trials policy, FMC Policy 1.0, outlines the

procedures governing the Judge, City Prosecutor, and Court Clerk during each municipal court

proceeding, and the rights of defendants appearing in that court. CD, ¶ 353. Pursuant to Paragraph

359, FMC has included mechanisms for providing individuals with mental illness or intellectual

disabilities with information about their available options for diversion from the municipal justice

system. For example, FMC Policy 1.0 includes information on how to request that a case be sent

to mental health court and includes an attachment brochure for the St. Louis County Municipal

Mental Health Court. Additionally, the City revised the “Rights in Municipal Courts” brochure,

which explains the right to be referred to mental health court. Similarly, FMC Policy 3.0 governs

how the court will assess fines and fees owed for various offenses; outlines how a defendant’s

eligibility to pay is assessed; and details the alternative options for payment of fines and fees

including: reduction of the amount of fines/fees owed based on indigency; payment plans or



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paying fines/fees owed in installments; and paying fines/fees owed through community service

hours. CD, ¶¶ 340-346. Both policies are currently in draft form.

        Other policies undergoing development during this reporting period are designed to

provide greater access to court operations for traditionally underserved populations. FMC Policy

7.0, Limited English Proficiency Services, outlines the requirements and processes for the

municipal court’s provision of interpreters and similar assistance to individuals for whom English

is a second language.

        The Parties and the Monitoring Team will continue working collaboratively on these

aforementioned policies to prepare them for public comment during Year Five.

        2.       The Comprehensive Amnesty Program

        Pursuant to Paragraph 424 of the Consent Decree, the Monitoring Team established a

biannual audit schedule for provisions addressing Municipal Code and Municipal Court reform.

The first audit was conducted in August 2017. Beginning in 2018, audits were conducted on a

biannual basis (typically each spring and fall). The Monitor’s last Municipal Court audit was in

November 2019.9 This report details the results of the Monitor’s audit of the City’s compliance

with Consent Decree Paragraphs 326 and 327, specifically the Comprehensive Amnesty Program.

        The Consent Decree calls for the implementation of a Comprehensive Amnesty Program

to address the significantly large number of cases that had languished in the municipal court due,

in part, to the imposition of unnecessary barriers to prompt disposition. Specifically, Paragraph

326(a) requires the City to decline prosecution of cases initiated prior to January 1, 2014 that were



9
 Due to COVID-19 public health restrictions, audits were suspended in the spring and fall of 2020. The Monitoring
Team hopes to resume its audit schedule later this year.


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open and without a disposition, except in cases where the City Prosecutor found good cause to

continue the prosecution. To realize the program’s goals, the Parties worked collaboratively to

develop agreed upon good cause criteria to evaluate these charges. The Parties also agreed that

the City Prosecutor would document which good cause criteria was used to justify the decision to

keep cases open for continued prosecution.

       The City initially identified 7,932 pre-2014 charges that did not yet have a disposition and

that were eligible for review pursuant to the Comprehensive Amnesty Program. By the fall of

2018, the City had declined prosecution of 6,188 of those charges. The following table details the

good cause criteria under which the remaining 1,744 pre-January 1, 2014 charges were kept open:

   Criteria                  Description of Good Cause Criteria                        Number

               Involving assaultive behavior or reckless endangerment to
      1                                                                                  316
               others, including Driving While Intoxicated.
               Involving an identified victim who is available to assist in
      2                                                                                  563
               further prosecution.
               Involving the following charges:
               Driving While License Suspended or Driving While License
               Revoked, and
                     (a) the original Driving While License Suspended
      3              charge was issued because of something other than                   857
                     failing to appear or pay pursuant to RSMo 302.341.1;
                     and
                     (b) the defendant is unable to show that either his
                     license was reinstated or that he/she is no longer
                     driving.
               Involving a defendant convicted of an additional offense since
      4        2014 that involves assaultive behavior or reckless endangerment             0
               to others, including Driving While Intoxicated.
               Where the City Prosecutor reasonably believes that, in the
      5                                                                                    8
               interests of justice and public safety, the case should proceed.
  Total number of pre-2014 cases that remain open for prosecution:                      1,744

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       As reported in the Monitor’s Spring 2019 Status Report, the Monitoring Team’s initial

audit of the City’s compliance with the Comprehensive Amnesty Program included a review of

10% of the pre-2014 cases that were kept open under at least one of the good cause criteria listed

above. Among the 175 cases reviewed, the audited sample included all cases that were kept open

under good cause criteria number two and which pertained to a failure to comply with law

enforcement, as well as all cases kept open under good cause criteria number five.

       With respect to charges kept open under good cause criteria two, the Monitoring Team’s

review raised issues of concern. Specifically, none of the 51 case files that were audited contained

notes by the City Prosecutor documenting a recent effort to confirm whether a victim was

available to assist in further prosecution of the case. In fact, only one of the cases included any

recent notes—i.e. notes created between 2017 and 2019 as part of the Comprehensive Amnesty

Program—explaining why the case was kept open. In some instances, more than seven years had

passed since the alleged conduct occurred, which raised the question of whether victims were still

available or willing to assist or provide information necessary to successfully adjudicate these

cases. The willingness to assist and availability of these victims is particularly relevant given that

approximately 60% of the charges remaining open under good cause criteria two are for theft, the

majority of which are corporate victims from whom the defendants allegedly shoplifted.

       The Parties agreed that the cases kept open pursuant to good cause criteria two raised

legitimate questions and, through the summer and fall of 2019, worked collaboratively to craft a

solution that achieved the dual purpose of freeing a large number of defendants from the threat of

arrest for offenses in which a successful prosecution was unlikely, and equally importantly,

securing the rights of victims to be heard. The result of this effort was a process involving the

mass mailing of letters to identified victims asking that they indicate whether they preferred to

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continue their case. Where the victim did not respond or where the letter was returned as

undeliverable, the City Prosecutor dismissed the charges.

           As part of the November 2019 audit, the City reported that, for 428 of the 563 charges left

open pursuant to good cause criteria two, the identified victim did not respond to the letter inviting

further participation in the prosecution’s case. In all, the City received 21 responses: eight (8)

victims indicated a desire to continue their case and 13 stated that they no longer wished to

participate in the prosecution.10 Another 28 cases were closed after the defendant pleaded guilty

to the offense. Currently, there are nine (9) good cause criteria two charges remaining, down from

563 in 2018.

           As reflected in the table below, the City has also reduced the number of charges in the

remaining good cause criteria categories since the Monitoring Team originally reported the

number of pre-2014 open cases in 2018. 629 of the Paragraph 326(a) Comprehensive Amnesty

Program charges were either nolle prossed or dismissed by the City Prosecutor, and a small

number of additional cases were closed by the court. 11 However, we note that there were a number

of cases closed because of a defendant’s guilty plea, including 24 charges initially kept open under

good cause criteria one, 28 charges under good cause criteria two, and 84 charges under good

cause criteria three. The following represents the status of the Paragraph 326(a) charges as of the

current reporting period:




10
  The City Prosecutor kept one case open without a response from the victim due to a companion domestic assault
charge in the same matter.
11
     A small number of cases containing duplicate charges were also dismissed.
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     Criteria                     Description of Good Cause Criteria                                  Number

                  Involving assaultive behavior or reckless endangerment to
        1                                                                                                224
                  others, including Driving While Intoxicated.

                  Involving an identified victim who is available to assist in
        2                                                                                                 9
                  further prosecution.

                  Involving the following charges:

                  Driving While License Suspended or Driving While License
                  Revoked, and

                         (a) the original Driving While License Suspended
        3                charge was issued because of something other than                               727
                         failing to appear or pay pursuant to RSMo 302.341.1;
                         and

                         (b) the defendant is unable to show that either his
                         license was reinstated or that he/she is no longer
                         driving.

                  Involving a defendant convicted of an additional offense since
        4         2014 that involves assaultive behavior or reckless endangerment                         0
                  to others, including Driving While Intoxicated.

                  Where the City Prosecutor reasonably believes that, in the
        5                                                                                                812
                  interests of justice and public safety, the case should proceed.

        Total number of pre-2014 charges that remain open for prosecution:                               968


        While the Monitoring Team is unable to assess the Comprehensive Amnesty Program’s

exact impact on the reduction in volume of pre-2014 charges until a more comprehensive remote

(and to the extent possible, in-person) audit is complete, it is clear that, to date, the program’s

implementation has been tremendously successful. At least 7,545 charges, and likely more, have



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   Each of these eight case files contained a memorandum from the City Prosecutor explaining the decision to keep
the case open. The Monitoring Team observed that six of these cases involved the exterior of real property, including
issues associated with trash accumulation or tree removal. During the next reporting period, the Monitoring Team
will meet with the Parties to discuss in more detail the application of criteria number five to these specific cases.
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been dropped as a direct result of Paragraph 326(a) since DOJ initiated its investigation of the

municipal court, including at least 6,927 pre-2014 charges that were dropped as a result of the

Consent Decree by the end of 2018. Thus, the City is nearing complete implementation of the

Comprehensive Amnesty Program as contemplated by Paragraph 327.

       During the next reporting period, the Monitoring Team will seek to assist the City in

reaching full implementation by working with the Parties to develop an audit methodology to

assess the City’s evaluation of cases left open under good cause criteria number three. Although

there are 118 fewer remaining charges in that category than there were in 2019, the Monitoring

Team notes that the reduction is due, in large part, to defendants having pleaded guilty (84) rather

than outright dismissal. As such, the Comprehensive Amnesty Program’s impact on this category

of cases is modest and cannot be deemed in compliance with Paragraph 326(a) without a review

by the Monitoring Team to determine whether the agreed upon criteria were fully and fairly

applied. Specifically, the Monitoring Team will need to assess: (1) how the City determined

whether the cases left open in this category were based on something other than a decision by the

Missouri State Department of Revenue to suspend a defendant’s driver’s license after failure to

pay a fine or appear for a scheduled court date; and (2) where it is determined that a case originated

in the State Department of Revenue, did the City provide the defendant an opportunity to show

that his/her license has been reinstated or that he/she is no longer driving. The Monitoring Team

looks forward to working with the Parties during the next reporting period to ensure that open

prosecutions in this category are properly classified.

       The Monitoring Team is pleased to report that the Comprehensive Amnesty Program’s

remaining provisions—Consent Decree Paragraph 326, Sections (b), (c), and (d)—have been fully

implemented. Pursuant to Paragraph 326(b), the City has eliminated all pending charges, fines,

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and fees related to Failure to Appear (“FTA”) violations through an order issued by the Municipal

Court Judge, without requiring defendants to make bond payments, appear in court, or take any

other action. During each biannual audit since 2017, the Monitoring Team reviewed reports from

the municipal court file system to confirm that there were no active or pending FTA cases.

Pursuant to Paragraph 326(c) of the Consent Decree, the City repealed all or parts of Ferguson

Municipal Code § 13-60, § 13-63, § 13-70(2) and (3), and § 44-50, and eliminated all pending

fines and fees imposed pursuant to the applicable provisions of these sections. The Monitoring

Team’s audits confirmed that all cases related to these obsolete provisions have been cleared out

of the Municipal Court’s electronic file and can report that there are no active or pending cases

associated with these provisions. As such, efforts related to Paragraph 326 (b-c) have resulted in

the disposal of more than 50,000 charges.

        Finally, pursuant to Paragraph 326(d) of the Consent Decree, where a defendant made

total payments exceeding the amount of the initial fines and fees imposed for a municipal

ordinance violation, including payments for associated FTA violations, the City recommended

that any additional fines be stayed and the case closed without requiring defendants to make a

bond payment, to appear in court, or to take any further action. Where payments did not total or

exceed the original fine amount, the City recommended lowering the amount owed to the amount

of the initial fines and fees imposed, minus any payment amount already made by the defendant.

The Municipal Court judge entered orders reducing the amount due for each defendant as

recommended by the City, and FMC staff updated the court’s electronic file system to account for

the fine reduction in each case. Since 2016 and up through the March 2019 audit, 13 the Monitoring

13
  Based on the City’s compliance with Paragraph 326(d) for the previous four (4) audit periods and the small number
of cases identified during the March 2019 audit (21), the Monitoring Team did not review FTA cases as part of the
November 2019 audit.
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Team has reviewed a random sample of 10% of the defendants for which FTA fees were reduced

and confirmed that the FMC electronic file system reflects the appropriate FTA fee reductions.

The Monitoring Team estimates that the City has waived $314,973.56 in FTA fees across 2,071

charges.

       In sum, the City has implemented all aspects of the Comprehensive Amnesty Program as

required under Paragraph 326 of the Consent Decree, except for those related to good cause

criteria numbers three and five, as explained above. In addition to complete implementation of

the program, Paragraph 327 of the Consent Decree also requires that the City agree not to execute

any municipal arrest warrants or to collect any fines or fees identified in Paragraph 326 while

implementing this program. CD, ¶ 327. The City has fully complied with this provision, although

the Monitoring Team will continue to audit compliance. The Monitor recognizes the City’s

commendable work with respect to the implementation of the Comprehensive Amnesty Program

and is optimistic that the City will achieve complete implementation with respect to Paragraphs

326 and 327 in Year Five.

       D.      Voluntary Contacts, Stops, Searches, Citations, and Arrests

       Policy development and roll call trainings in the area of voluntary contacts, stops, searches,

citations, and arrests was delayed during Year Four, and as a result, implementation of these

policies was not completed by the end of the year. Specifically, although the initial suite of draft

policies, inclusive of officer and community feedback, was submitted to the Monitoring Team for

review, a few select policies remained outstanding, including the Citations and Arrests,

Wanteds/Stop Orders, and Correctible Violations. CD, ¶¶ 90-98. Policy development with

respect to these policies should be completed and roll call trainings should be conducted in Year

Five so that the Monitoring Team may commence an audit in this area during Year Six.

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       E.      First Amendment Protected Activity

       During Year Four, the City drafted initial policies on officer response to First Amendment

Protected Activity and, because of the pandemic, doubled the time allowed for the public to submit

comments to the policy. At the beginning of Year Five, the City began working to implement

feedback received from the community into the final policies, which will be submitted to the

Monitoring Team later in Year Five. Roll call trainings should be conducted in Year Five so that

the Monitoring Team may commence an audit in this area during Year Six.

       F.      Use Of Force

       During Year Four, the City developed and trained FPD on the majority of all use of force

policies. See CD, ¶¶ 128-170, 172-194. At the close of Year Four, only the Force Review Board

(“FRB”) policy and the use of force reporting and investigation forms remained for development

and training. Pursuant to the Year Five Workplan, the City will complete development and

training with respect to the use of force forms and the FRB policy this year. Additionally,

Paragraph 172 of the Consent Decree requires FPD to develop a comprehensive process for

reporting and investigating all FPD officer uses of force. CD, ¶ 172. FPD officers began reporting

in paper form all use of force data during Year Four, but are required to commence electronic

reporting during Year Five. The City is also expected to commence the development and

implementation of in-service and supervisor training this year.

       Given the status of implementation, the Monitoring Team provided notice to the City that

it intended to commence an audit of FPD’s compliance with the Consent Decree’s use of force

provisions. In accordance with Paragraph 426 of the Consent Decree, the Monitoring Team will

assess whether FPD has (1) incorporated the use of force provisions into its policies; (2) trained



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all relevant FPD personnel as necessary to fulfill their responsibilities under those policies; and

(3) is carrying out the requirements of those policies in practice.

       The Use of Force Audit will be conducted to ensure that FPD officers are using appropriate

force and that FPD monitors and investigates levels of force employed by its officers in

accordance with governing laws and policies.          In December 2020, the Monitoring Team

commenced its pre-audit requests for information from the City. Requests to the City include use

of force reports, arrest statistics for specific offenses, and records of use of force training

conducted by FPD. Upon receiving responses from the City, the Monitoring Team began, in

February 2021, to make document requests on a rolling basis. These requests seek videos,

photographs, reports, or other materials relevant to the audit. Finally, over the next few months,

as it receives documentation from the City, the Monitoring Team will assess compliance with

relevant use of force provisions. Following the audit, the Monitoring Team will report results to

the Parties along with associated findings and recommendations. The substance of this audit

report will be presented to the public and incorporated into the Monitor’s semiannual status report.

       G.      Body-Worn and In-Car Cameras

       In August 2020, the City finalized the suite of body-worn and in-car camera policies, and

the secondary policy for off-duty officers.      See CD, ¶¶ 228-50. Once finalized, the City

resubmitted the revised policies to the Monitoring Team, who approved them in September 2020.

Roll call trainings have also been completed. In-service training programs should commence at

the end of Year Five or beginning of Year Six. The Monitoring Team will commence auditing of

this area during Year Six.




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       H.       Recruitment

       The Parties have long since completed a draft Recruitment Plan for attracting and retaining

a high-quality and diverse workforce. Approval of this plan has stagnated due to the City’s

delayed execution of a salary study required to comply with Paragraph 283(a) of the Consent

Decree (requiring the City to offer salaries that will place FPD among the most competitive of

similarly sized agencies in St. Louis County). Although the City completed its salary study during

Year Four, the methodology it utilized is being assessed by the Parties and may require further

modifications by the City. The Parties continue to work in good faith to negotiate an agreed-upon

methodology for the salary study. The Monitor notes the critical need to resolve this matter and

implement the City’s recruitment plan as the competitiveness of FPD salaries bears directly on

the City’s ability to bring additional resources to FPD. The Monitor urges the Parties to resolve

this issue in the near term so that the City can meet its commitment to finalize and implement the

Recruitment Plan by the close of Year Five.

       Additionally, Paragraphs 285 and 290 of the Consent Decree require the City to “conduct

an in-depth review of its current hiring processes and hiring criteria to ensure that no process,

criterion, or requirement has a statistically significant disparate impact on members of a protected

group,” and to develop data-driven and qualitative protocols for regularly assessing its

recruitment efforts. CD, ¶¶ 285, 290. The City is also required to continue the FPD Academy

Assistance Program to seek qualified, local candidates to serve as police officers. CD, ¶¶ 286-

87. The City should work with its data and technology consultants and Human Resources

Department, as needed, to identify current gaps in compliance with these provisions by the close

of Year Five.



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       I.       Accountability

       During Year Four, policy development was completed with respect to accountability

policies and guidelines. CD, ¶¶ 362-400. The City submitted roll call training materials to DOJ,

who reviewed and provided comment to the City during the fall of 2020. The City has finalized

these training materials and should commence and complete roll call training on accountability

policies by the end of Year Five. Next, the City must incorporate these policies into an in-service

training program. Depending on the completion of roll call training in this area, the Monitoring

Team may be able to commence an audit review of the City’s accountability policies at the end

of Year Five.

       J.       Data Collection

       The City’s engagement with AH Datalytics proved fruitful during Year Four. AH

Datalytics conducted a gap analysis and developed a comprehensive data collection plan for the

City by February 5, 2020. The City also engaged Benchmark Analytics (“Benchmark”) to assist

with implementing the City’s data plan. Specifically, Benchmark will be used to fill data gaps in

the areas of use of force and accountability, among other areas. The City has also started to

develop its electronic use of force reporting system with Benchmark. Throughout the remainder

of Year Five, the City should continue to work with Benchmark, AH Datalytics, and any other

necessary vendors to fill data gaps identified during the gap analysis and bring data components

of the Consent Decree into compliance.

       K.       Officer Assistance, Support, and Wellness Training

       In recognition of officer workload, the political climate, and the stresses associated with

the ongoing COVID-19 pandemic, the City has indicated that it will refocus on the myriad ways

in which it can better support its officers during Year Five. The Monitor commends these efforts

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and has drafted the Year Five Workplan to incorporate officer assistance, support, and wellness

provisions accordingly. CD, ¶¶ 272-279, 319-321. Specifically, these paragraphs recognize that

physical and mental wellness has a direct impact on officers’ ability to perform their jobs safely,

constitutionally, and effectively. During Year Five, the City should continue to offer assistance

that supports the resilience, physical, and emotional health of its officers.

       By the close of Year Five, the City should: (1) identify Consent Decree requirements that

have already been implemented in this area and are ready for auditing by the Monitoring Team;

(2) review its Employee Assistance Program to ensure it comports with best practices and current

professional standards; (3) develop well-being protocols to be activated during officer

deployments in and around public demonstrations or civil unrest; (4) identify qualified mental

health professionals to develop and provide trainings on these topics; and (5) conduct and/or host

officer wellness trainings and workshops. Compliance with these provisions is critical not only

to ensuring the wellbeing and safety of FPD officers, but also to promoting good judgment and

high performance within the department.

III.   CONCLUSION

       The Monitoring Team recognizes and complements the intrepid efforts put forth by

FPD, and specifically Chief Armstrong, Assistant Chief McCall, and Ms. Barton, to continue

driving toward substantial compliance in the face of challenges presented during the close of

Year Four and throughout Year Five. Despite the challenging and uncertain circumstances,

Year Four nevertheless saw near finalization of all policies in the Parties’ stated priority areas.

To avoid further delays with respect to training, the City should once again prioritize a system

for developing and conducting roll call trainings regularly and efficiently, and should hire a

Training Director and/or solicit additional resources to support this critical aspect of

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implementation. Finally, the City must continue to build a robust community policing and

engagement plan during Year Five, ideally with the help of a dedicated community

engagement/outreach coordinator. Year Five marks a tipping point with great opportunity to

move numerous policy areas into implementation, and then, into position for auditing and

assessment by the Monitoring Team during Year Six. The Monitoring Team appreciates the

continued effort put forth by the DOJ and the City in working together to achieve the aims of

the Consent Decree and looks forward to continuing to work collaboratively as the City moves

through Year Five.



Date: February 23, 2021                             Respectfully submitted,

                                                    /s/ Natashia Tidwell
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing was filed electronically on
February 23, 2021 with the Clerk of the Court for the United States District Court for the Eastern
District of Missouri, and was served by ECF notice by operation of the Court’s electronic filing
system.

                                                    /s/ Natashia Tidwell


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